 

 

 

 

 

 

 

Case 1:19-cr-00291-LAP Document 141 Filed 1p¥4-74t9c=° RAGE SORE
1 UST : .
USD Sh 7

DOCU GR’
ELEC VS PLED ||

UNITED STATES DISTRICT COURT HOG ‘ j

SOUTHERN DESTRICE OF NEN WORK Be e575)

UNITED STATES OF AMERICA, : 19-CR-291 (LAP)

“Vim : ORDER
ADEMOLA ADEBOGUN,
Defendant.
Bo eee x

LORETTA A. PRESKA, Senior United States District Judge:

Before the Court is Mr. Adebogun’s request to modify his
travel restrictions temporarily to allow travel to Lagos,
Nigeria [dkt. no. 137]. The request is denied. In the Court’s
view, allowing travel to Nigeria would not “reasonably assure”

Defendant’s appearance in court.

As pointed out in the Government’s letter [dkt. no. 138],
Mr. Adebogun is a dual United States-Nigerian citizen who has
traveled internationally several times during the last five
years using both his United States and Nigerian passports. The
evidence against the Defendant is strong, supported by bank
records, call and text message chats. The chats in particular
show Defendant’s vast knowledge of the workings of the bank
fraud he is accused of. The Government estimates his guidelines
range following a conviction to be 70-87 months. “Because the
evidence of guilt is strong, it provides [the charged defendant]

with an incentive to flee.” United Staes v. Berkun, 392 F.

 

 

 

 
Case 1:19-cr-00291-LAP Document 141 Filed 12/17/19 Page 2 of 2

 

Apo’x 901, 903 (2d Cir. 2010)1 United States v. Bellomo, 944 F.
Supp. 1160, 1164 (S.D.N.Y. 1996) (denying pretrial release in
part because “a defendant facing serious potential penalties in
the event of conviction is more likely to disappear if the
government’s case is strong than if an acquittal appears

likely”).

Based on the Defendant’s letter, he does not have
substantial ties to the United States that would ensure his
appearance in this district for trial. Thus, there is no factor
outweighing the substantial and strong evidence of guilt and
serious possibility of jail time as incentives to flee. Thus,

the request for bail modification is denied.

SO ORDERED.

Dated: New York, New York
December lb , 2019

Yoleta ll Xeulé7

LORETTA A. PRESKA
Senior United States District Judge

 

 
